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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  ANGE SAMMA, et al.,

                          Plaintiffs,

                 v.                                  Civil Action No. 20-1104 (ESH)

  UNITED STATES DEPARTMENT OF
  DEFENSE, et al.,

                         Defendants.



                                             ORDER

       The Court held a telephone conference on May 5, 2020, to address plaintiffs’ motion for

a preliminary injunction. Pursuant to Fed. R. Civ. P. 65, and with the consent of the parties, the

Court will consolidate the preliminary injunction hearing with a hearing on the merits.

Accordingly, it is hereby ORDERED that

       1. Plaintiffs’ motion for preliminary injunction, ECF No. 4, will be treated as a motion

           for summary judgment.

       2. Defendants’ opposition to plaintiffs’ motion for summary judgment and cross-motion

           for summary judgment is due by May 22, 2020.

       3. By May 22, 2020, defendants shall file a certified index to the administrative record,

           and provide plaintiffs with a copy of the administrative record. Defendants shall also

           provide the Court with an electronic copy of the administrative record. To the extent

           the administrative record includes documents that were part of the administrative

           records filed in Nio v. USCIS, 17cv0998, and Kirwa v. Dep’t of Defense, 17cv1753,
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           the index should cross-reference where those documents appeared in those

           administrative records.

       4. Plaintiffs’ reply in support of their motion for summary judgment and opposition to

           defendants’ cross-motion for summary judgment is due by May 29, 2020.

       5. Defendant’s opposition to plaintiffs’ motion for class certification, ECF No. 5, is due

           by June 1, 2020.

       6. Plaintiffs’ reply in support of their motion for class certification is due by June 8,

           2020.

       7. Defendants’ reply in support of their cross-motion for summary judgment is due by

           June 8, 2020.

       8. Two courtesy paper copies of any filing over 25 pages should be provided to the

           Court.1

A hearing date will be set after briefing is completed.




                                                      ELLEN SEGAL HUVELLE
                                                      United States District Judge

Date: May 5, 2020




1
 If counsel cannot produce and deliver paper copies to the Court due to the COVID-19
pandemic, this requirement will be waived upon request.

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